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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRECT OF TEXAS
                                               AUSTIN DIVISION

   GOOD RIVER FARM, LP

           Plaintiff

   V.                                                                        1:17-CV-01117-RP

   MARTIN MARIETTA
   MATERIALS, INC.; and
   TXI OPERATIONS, LP

           Defendants.

                                                 VERDICT FORM

                                                QUESTION NO.           1


        Did Defendants intentionally create a private nuisance?

        Answer "Yes" or "No."

        Answer:                         0


                                                QUESTION NO. 2

        Did Defendants negligently create a private nuisance?

        Answer "Yes" or "No."

        Answer:                     4:I.

Ifyou answered   yes" to Question   1   and/or 2, then answer Question 3. Otherwise,   do not answer Question 3.


                                                QUESTION NO. 3

        Did the private nuisance, if any, of Defendants proximately cause the injury to Plaintiffs

property on or around October 30, 2015?

        Answer "Yes" or "No."

        Answer:




                                                           12
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                                            QUESTION NO. 4

        Do you find that the Defendants diverted or impounded the natural flow of surface waters

in a manner that proximately caused damage to Plaintiff's property?

       Answer "Yes" or "No."

       Answer:
                                7'
                                            QUESTION NO. 5

        Did the negligence, if any, of those named below proximately cause the injury to Plaintiff's

property on or around October 30, 2015?

        Answer "Yes" or "No" for each of the following:

        Defendants Martin Marietta Materials, Inc.

                  and TXI Operations, LP

        Plaintiff Good River Farms, LP                                   41'o

Ifyou answered   yes" to Question 5for more than one of those named below, then answerQuestion 6. Otherwise, do

not answerQuestion 6.

                                            QUESTION NO. 6

        Assign percentages of responsibility only to those you found caused or contributed to the

injury. The percentages you find must total 100 percent. The percentages must be expressed in

whole numbers. The percentage of responsibility attributable to any one is not necessarily measured

by the number of acts or omissions found.

        For each person you found caused or contributed to cause the injury, find the percentage of

responsibility attributable to each:




                                                       13
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        Defendants Martin Marietta Materials, Inc.                           / 0 0

                 and TXI Operations, LP

        Plaintiff Good River Farms, LP                                          0
                                                                               100          %
        Total

Ifyou answered   yes" to Question 3 and! or Question 4, and/or 5ies" to Defendants in Question 5, then answer

Question 7. Otherwise, do not answer Question 7.

                                            QUESTION NO.           7


        What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff

for damages, if any, to its property resulting from the occurrence in question?

         Answer in dollars and cents for damages, if any.

        Answer:           $         -?




 SIGNED this       Eday of                                    2022.




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